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     /s/ Brian A. Kilmer
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                           JUNIPER SPECIALTY PRODUCTS LLC
                            Written Consent of the Board of Managers

                                             June 17, 2020

                                                                                         Board
Juniper Specialty Products                                                       Company
                                             Consent
following resolutions and actions therein authorized as the act of the Board by written consent,
effective as of the date first set forth above, such approval, consent, and adoption to have the same
force and effect as if a meeting of the Board had been duly called and held:
       WHEREAS, the Board of has concluded that the Company is insolvent and unable to pay
debts as they mature;
       WHEREAS, following many discussions with its advisors and based on the advice of its


other stakeholders of the Company to file a voluntary petition under Chapter 11 of the Bankruptcy
Code in the Southern District of Texas;
       WHEREAS, it would be in the best interests of creditors for the Company to retain the
law firm of Kilmer Crosby & Quadros PLLC to file a voluntary petition under Chapter 11 of the
Bankruptcy Code for the Company; it is:
       NOW, THEREFORE, BE IT RESOLVED, that the Company shall file a bankruptcy
petition as soon as practicable in accordance with Chapter 11 of the Bankruptcy Code;
       RESOLVED, the Board has determined Kilmer Crosby & Quadros PLLC shall be
employed as bankruptcy counsel for the Company to file the voluntary petition under Chapter 11
of the Bankruptcy Code;
       RESOLVED, that the Chief Restructuring Officer, John D. Baumgartner, be, and hereby
is, authorized and directed to execute or have someone else at the company execute and file all
petitions, schedules, lists, and other papers, and to take all such further actions, as he necessary,
desirable, advisable or appropriate to effectuate or carry out the purposes of any and all of the
foregoing resolutions and the transaction[s] contemplated thereby; and that the taking of each such
action, the execution and delivery of each such document or instrument shall be conclusive
evidence of its necessity or advisability;




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       RESOLVED, the Secretary and any Assistant Secretary of the Company be, and each of
them hereby is, authorized in the name and on behalf of the Company to certify the passage of the
foregoing resolutions.


       FURTHER RESOLVED, that this Consent may be executed in any number of
counterparts by means of an original, facsimile, or portable document format (PDF) signature,
each of which shall be deemed an original document and all of which together shall constitute one
and the same document.

       IN WITNESS WHEREOF, the undersigned have executed this Resolution effective as
of June 11, 2020.

                                    [Signature page follows]




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        IN WITNESS THEREOF, the undersigned have executed this Written Consent on the
date first written above.



                                         MANAGERS:



                                         _______________________________
                                         Zalmie Jacobs


                                         _______________________________
                                         Glen Gordon


                                         _______________________________
                                         Tom Mara


                                         _______________________________
                                         Max Slivka




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        IN WITNESS THEREOF, the undersigned have executed this Written Consent on the
date first written above.



                                         MANAGERS:



                                         _______________________________
                                         Zalmie Jacobs


                                         _______________________________
                                         Glen Gordon


                                         _______________________________
                                         Tom Mara


                                         _______________________________
                                         Max Slivka




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        IN WITNESS THEREOF, the undersigned have executed this Written Consent on the
date first written above.



                                         MANAGERS:



                                         _______________________________
                                         Zalmie Jacobs


                                         _______________________________
                                         Glen Gordon


                                         _______________________________
                                         Tom Mara


                                         _______________________________
                                         Max Slivka




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